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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

LINDA FAIRSTEIN,                                  )
                                                  )
                 Plaintiff,                       )   Case No: 2:20-cv-00180-FtM-66MRM
                                                  )
                 v.                               )
                                                  )
NETFLIX, INC., AVA DUVERNAY,                      )
and ATTICA LOCKE,                                 )
                                                  )
                                                  )
                 Defendants.                      )

                              DECLARATION OF JAMILA JANNEH

          I, Jamila Janneh, declare as follows:

          1.     I am a paralegal at Nesenoff & Miltenberg, LLP. This declaration is based on my

personal knowledge.

          2.     I was responsible for compiling portions of Plaintiff’s document appendix and

organizing the appendix for submission to the Court with Plaintiff’s opposition briefing.

          3.     As part of my work I retrieved, and downloaded, copies of a number of transcripts

and other documents from the New York City Law Department website http://www.nyc-

cpj.org/Home/Disclaimer. As necessary, I then prepared excerpted copies of those transcripts and

documents for use in Plaintiff’s appendix.

          4.     All documents contained within Plaintiff’s appendix that bear the Bates stamp

“NYCLD_” are documents, or excerpts of documents, that I downloaded from the New York City

Law Department website. They are true and correct to the best of my knowledge, information and

belief.
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